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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA
UNITED STATES OF AMERICA,                     )
                                              )                 8:13CR380
                     Plaintiff,               )
                                              )
       vs.                                    )                   ORDER
                                              )
CHARLES TOLES,                                )
                                              )
                     Defendant.               )
       This matter is before the court on the motion for an extension of time by defendant
Charles Toles (Toles) (Filing No. 50). Toles seeks an additional ten days in which to file
pretrial motions in accordance with the progression order. Toles' counsel represents that
Toles will file an affidavit wherein he consents to the motion and acknowledges he
understands the additional time may be excludable time for the purposes of the Speedy Trial
Act. Upon consideration, the motion will be granted.


       IT IS ORDERED:
       Defendant Toles' motion for an extension of time (Filing No. 50) is granted. Toles is
given until on or before May 23, 2014, in which to file pretrial motions pursuant to the
progression order. The ends of justice have been served by granting such motion and
outweigh the interests of the public and the defendant in a speedy trial. The additional time
arising as a result of the granting of the motion, i.e., the time between May 13, 2014, and
May 23, 2014, shall be deemed excludable time in any computation of time under the
requirement of the Speedy Trial Act for the reason defendant's counsel requires additional
time to adequately prepare the case, taking into consideration due diligence of counsel, and
the novelty and complexity of this case. The failure to grant additional time might result in
a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).
       DATED this 13th of May, 2014.
                                                  BY THE COURT:

                                                  s/ Thomas D. Thalken
                                                  United States Magistrate Judge
